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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                 :
                                                  :
        Plaintiffs,                               :      Civil Action No.:       25-1248 (RC)
                                                  :
        v.                                        :      Re Document No.:        41
                                                  :
DONALD J. TRUMP, et al.,                          :
                                                  :
        Defendants.                               :

                                             ORDER

                          GRANTING DEFENDANTS’ MOTION TO STAY

        Upon consideration of Defendants’ motion to stay (ECF No. 41) enforcement of the

Court’s order entered May 29, 2025 preliminarily enjoining the United States from collecting

tariffs from Plaintiffs pursuant to Executive Orders 14,195; 14,228; 14,257; 14,259; and 14,266

(ECF No. 35); it is hereby

        ORDERED that Defendants’ motion is GRANTED. In issuing the preliminary

injunction, the Court specifically referenced the related permanent injunction granted by the

Court of International Trade. See Mem. Op. Denying Defs.’ Mot. Transfer Venue; Granting Pls.’

Mot. for Prelim. Inj. at 32–33, ECF No. 37. The Court acknowledged the national security and

foreign policy concerns raised by Defendants but determined that those consequences would

flow, if at all, from the CIT’s more sweeping order. Id. That order has now been stayed by the

Court of Appeals for the Federal Circuit. A stay in this action is therefore appropriate to protect

the President’s ability to identify and respond to threats to the U.S. economy and national

security; and it is

        FURTHER ORDERED that the effects of this Court’s order granting Plaintiffs’ motion

for a preliminary injunction (ECF No. 35) and the accompanying memorandum opinion (ECF
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No. 37) are hereby stayed pending disposition of the pending appeal before the United States

Court of Appeals for the District of Columbia Circuit.

       SO ORDERED.


Dated: June 3, 2025                                             RUDOLPH CONTRERAS
                                                                United States District Judge




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